              Case 1:04-cr-05226-LJO Document 52 Filed 03/20/08 Page 1 of 2


1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     LAPRICE LAMONT REYNOLDS
6
7
8                          IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )        No. Cr. F 04-5226 OWW
                                     )
12                  Plaintiff,       )        ORDER REDUCING SENTENCE PURSUANT
                                     )        TO 18 U.S.C. § 3582(c)(2)
13        v.                         )
                                     )        RETROACTIVE CRACK COCAINE
14   LAPRICE LAMONT REYNOLDS,        )        REDUCTION CASE
                                     )        Date: March 24, 2008
15                  Defendant.       )        Time: 9:00 a.m.
                                     )        Judge: Hon. OLIVER W. WANGER
16   _______________________________ )
17        This matter came before the Court on the motion of the defendant
18   for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) filed on
19   March 10, 2008.      The motion was set for hearing on March 24, 2008, but
20   because the parties have stipulated to the resolution, the matter is
21   taken off calendar.
22        The parties agree, and the Court finds, that Mr. Reynolds is
23   entitled to the benefit of the retroactive amendment reducing crack
24   cocaine penalties, which reduces the applicable offense level from 23
25   to 21.
26        IT IS HEREBY ORDERED that the term of imprisonment originally
27   imposed is reduced to 60 months;
28        IT IS FURTHER ORDERED that all other terms and provisions of the
            Case 1:04-cr-05226-LJO Document 52 Filed 03/20/08 Page 2 of 2


1    original judgment remain in effect.
2         Unless otherwise ordered, Mr. Reynolds shall report to the United
3    States Probation office closest to the release destination within
4    seventy-two hours
5    IT IS SO ORDERED.
6    Dated: March 19, 2008                 /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ORDER REDUCING SENTENCE
                                            -2-
